






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00589-CR







Terry Michael Dalton, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 390TH JUDICIAL DISTRICT


NO. D-1-DC-05-201498, HONORABLE JULIE H. KOCUREK, JUDGE PRESIDING






O R D E R


PER CURIAM

Appellant's third motion for extension of time to file brief is granted.  Appellant's
counsel, Paul Evans, is ordered to tender a brief in this cause no later than June 20, 2007.

It is ordered June 1, 2007.



Before Justices Patterson, Pemberton and Waldrop

Do Not Publish


